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                              United States Court of Appeals
                                     For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
Michael E. Gans
                                                                               FAX (314) 244-2780
 Clerk of Court
                                                                             www.ca8.uscourts.gov

                                                           April 27, 2021


Mr. Robert Henry Dierker Jr.
CITY COUNSELOR'S OFFICE
314 City Hall
1200 Market Street
Saint Louis, MO 63103-0000

         RE: 19-2062 Maleeha Ahmad, et al v. City of St. Louis, Missouri
             19-2221 Maleeha Ahmad, et al v. City of St. Louis, Missouri

Dear Counsel:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion. The opinion will be released to the public at 10:00 a.m. today. Please hold the
opinion in confidence until that time.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. No grace period
for mailing is allowed, and the date of the postmark is irrelevant for pro-se-filed petitions. Any
petition for rehearing or petition for rehearing en banc which is not received within the 14 day
period for filing permitted by FRAP 40 may be denied as untimely.

                                                           Michael E. Gans
                                                           Clerk of Court

NDG

Enclosure(s)

cc:      Ms. Abby Joe Duncan
         Mr. Brandon David Laird
         Mr. Gregory J. Linhares
         Mr. Omri E. Praiss
         Ms. Amy Raimondo
         Mr. Anthony E. Rothert
         Ms. Jessie M. Steffan
         Ms. Gillian R. Wilcox

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         District Court/Agency Case Number(s): 4:17-cv-02455-CDP
                                               4:17-cv-02455-CDP




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                              United States Court of Appeals
                                     For The Eighth Circuit
                                     Thomas F. Eagleton U.S. Courthouse
                                     111 South 10th Street, Room 24.329
                                   St. Louis, Missouri 63102
                                                                             VOICE (314) 244-2400
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                                                                               FAX (314) 244-2780
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                                                           April 27, 2021


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       RE: 19-2062 Maleeha Ahmad, et al v. City of St. Louis, Missouri
           19-2221 Maleeha Ahmad, et al v. City of St. Louis, Missouri

Dear Sirs:

       A published opinion was filed today in the above case.

       Counsel who presented argument on behalf of the appellant and appeared on the brief
was Robert Henry Dierker, Jr., of Saint Louis, MO. The following attorneys also appeared on the
appellant brief; Brandon David Laird, of Saint Louis, MO., Abby Joe Duncan, of Saint
Louis, MO., Amy Raimondo, of Saint Louis, MO., and Megan K. B. Bruyns, of Saint
Louis, MO.

       Counsel who presented argument on behalf of the appellees and appeared on the brief
was Anthony E. Rothert, of Saint Louis, MO. The following attorneys also appeared on the
appellee brief; Omri E. Praiss, of Saint Louis, MO., Gillian R. Wilcox, of Kansas
City, MO., Jessie M. Steffan, of Saint Louis, MO.

      The judge who heard the case in the district court was Honorable Catherine D Perry. The
judgment of the district court was entered on May 15, 2019.

       If you have any questions concerning this case, please call this office.

                                                           Michael E. Gans
                                                           Clerk of Court
NDG

Enclosure(s)

cc: MO Lawyers Weekly

             District Court/Agency Case Number(s): 4:17-cv-02455-CDP
                                                   4:17-cv-02455-CDP

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                  United States Court of Appeals
                             For the Eighth Circuit
                         ___________________________

                                 No. 19-2062
                                 No. 19-2221
                         ___________________________

                              Maleeha S. Ahmad, et al.

                         lllllllllllllllllllllPlaintiffs-Appellees

                                            v.

                             City of St. Louis, Missouri

                       lllllllllllllllllllllDefendant - Appellant
                          ___________________________

                     Appeals from United States District Court
                   for the Eastern District of Missouri - St. Louis
                                   ____________

                           Submitted: September 23, 2020
                               Filed: April 27, 2021
                                  ____________

Before LOKEN, SHEPHERD, and ERICKSON, Circuit Judges.
                          ____________

LOKEN, Circuit Judge.

       In September 2017, following the acquittal of a former St. Louis police officer
for the on-duty shooting of a black man, St. Louis police dealt with several days of
extensive street protests. The initial protests were peaceful; police made no arrests
and did not use force or chemical agents. After dark on September 15, a group
attempted to seize a highway on-ramp. Turned back by police outfitted with riot gear,


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they migrated to the area where police civil disobedience teams were about to leave
in public transit buses. Some protesters locked arms to prevent the buses from
leaving and were maced when they refused to obey orders to move. Others were
maced when they approached police lines and failed to obey commands to “move
back.” Officers declared that certain gatherings were unlawful assemblies and issued
dispersal orders. A large crowd threw objects at the mayor’s house; security
summoned police who deployed tear gas and pepper balls to disperse the group.

       On the evening of September 17, rioters wearing masks and goggles roamed
downtown St. Louis, smashing windows and engaging in other vandalism. Some
were arrested. During the chaos, a group of officers the City admits “went rogue”
seized and beat a protester who in fact was an undercover detective and destroyed the
phone he was using to record police conduct. Text messages between abusive
officers revealed a plan to beat protesters and suggested that if they had beaten a real
protester rather than an undercover detective, they would not be in any trouble.
Elsewhere that evening, when rioters harassed police, the commander ordered arrests.
Awaiting reinforcements, police declared the crowd an unlawful assembly and issued
repeated orders to disperse, in-person and via public address. An hour later, police
arrested and maced approximately 125 people.


       These incidents gave rise to this lawsuit. Plaintiffs, now three in number, are
a protester who allegedly was maced, a person whose cell phone was seized and
searched as he filmed arrests, and an observer who was allegedly exposed to chemical
agents and arrested on September 17. Plaintiffs filed a First Amended Complaint for
Prospective Relief and a motion for a preliminary injunction on September 28, 2017.
The Amended Complaint alleged that the City (i) violated the First Amendment by
retaliating against plaintiffs for engaging in protected expressive activity; (ii) violated
the Fourth Amendment because its custom, practice, and failure to train and supervise
caused unlawful seizures and the use of excessive force by police officers; and (iii)
violated the Fourteenth Amendment when officers failed to warn before deploying

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chemical agents, failed to provide opportunities to disperse, and arbitrarily enforced
two ordinances of the St. Louis Code. For relief, plaintiffs urged the court to “[i]ssue
a temporary restraining order, preliminary injunction, and permanent injunction
requiring the City of St. Louis to declare protests ‘unlawful assemblies’ and to order
protestors ‘to disperse’ in a constitutional manner and otherwise limit police activities
at protests as required by the Constitution.”

       The district court held a three-day evidentiary hearing at which eighteen
witnesses testified in support of the motion for preliminary injunction. On November
15, 2017, the court granted the injunction set forth in the Appendix to this opinion.
At the same time, the court referred the case to mediation, setting a compliance report
deadline of February 15, 2018 The City did not timely appeal the preliminary
injunction, which was an appealable interlocutory order. See 28 U.S.C. § 1292(a)(1).
The mediation was extended. On February 1, 2019, plaintiffs filed a Second Motion
To Certify Class. On March 29, the City filed a motion to dissolve the preliminary
injunction and dismiss the Second Amended Complaint “for lack of equitable
jurisdiction.” On May 6, the mediator filed a Compliance Report stating that the
parties “participate[d] in good faith [but] did not achieve a settlement.” On May 7,
the district court entered an order granting certification of a Rule 23(b)(2) class. See
Fed. R. Civ. P. 23 (b)(2). On May 15, 2019, the court denied the City’s motion to
dismiss and to dissolve the preliminary injunction.1 The City timely appealed both




      1
        We affirm the district court’s denial of the City’s motion to dismiss, which was
based upon a flawed or premature jurisdictional contention that plaintiffs lack Article
III standing. “A determination even at the end of trial that the court is not prepared
to award any remedy that would benefit the plaintiff may be expressed as a
conclusion that the plaintiff lacks standing.” 13C Wright, Miller, & Cooper, Fed.
Prac. & Procedure § 3531.6, p.478 (2d ed. 1984). But the determination that
plaintiffs lack equitable standing is often not jurisdictional but a ruling on the merits.
See generally City of Los Angeles v. Lyons, 461 U.S. 95 (1983).

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orders. We granted permission to appeal the class certification order, see Rule 23(f),
and consolidated the two appeals. We now remand with instructions.

                  I. Motion to Dissolve Preliminary Injunction


       The City appeals the denial of its motion to dissolve the preliminary injunction.
We have jurisdiction over interlocutory orders “granting, continuing, modifying,
refusing, or dissolving injunctions, or refusing to dissolve or modify injunctions.”
28 U.S.C. § 1292(a)(1). Our standard of review is for abuse of discretion. Waste
Management, Inc. v. Deffenbaugh, 534 F.2d 126, 129 (8th Cir. 1976). Modifying or
dissolving a preliminary injunction “is proper only when there has been a change of
circumstances . . . that would render the continuance of the injunction in its original
form inequitable.” Favia v. Indiana Univ. of Pennsylvania, 7 F.3d 332, 337 (3d Cir.
1993). “When considering whether to modify a preliminary injunction, a district
court is not bound by a strict standard of changed circumstances but is authorized to
make any changes in the injunction that are equitable in light of subsequent changes
in the facts or the law.” Omaha Indem. Co. v. Wining, 949 F.2d 235, 239 (8th Cir.
1991) (quotation omitted).

       The City based its motion to dissolve on Rule 60(b) of the Federal Rules of
Civil Procedure. Rule 60(b)(5) permits a party to obtain relief from a judgment or
order if “applying it prospectively is no longer equitable.” In Horne v. Flores, the
Supreme Court confirmed that Rule 60(b)(5) “provides a means by which a party can
ask a court to modify or vacate a judgment or order if a significant change either in
factual conditions or in law renders continued enforcement detrimental to the public
interest.” 557 U.S. 443, 447 (2009) (cleaned up). The Court noted that “Rule
60(b)(5) serves a particularly important function in what we have termed ‘institutional
reform litigation’ [because] [s]uch litigation commonly involves areas of core state
responsibility.” Id. at 447-48; see Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367,
392-93 (1992) (modification of consent decrees). Though Rule 60(b)(5) on its face

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is limited to relief from final orders, we conclude the standard applied in Horne also
applies to motions to modify or dissolve preliminary injunctions. “We review only
the denial of the Rule 60(b) motion and do not squarely consider the merits of the
underlying order.” Brooks v. Ferguson-Florissant School Dist., 113 F.3d 903, 904
(8th Cir. 1997). The City bears the burden of establishing that changed circumstances
warrant relief. Horne, 557 U.S. at 447.

       In denying the motion to dissolve, the district court concluded that the City had
failed to show changed circumstances, characterizing its motion as “nothing more
than an attempt to reargue the preliminary injunction motion with new counsel and
more strident rhetoric.” For the most part, we agree. But in one crucial respect -- the
passage of time since the preliminary injunction was entered -- the City’s motion does
present a dramatic case of “changed circumstances.”

       In most cases, “[t]he purpose of a preliminary injunction is merely to preserve
the relative positions of the parties until a trial on the merits can be held.” Univ. of
Texas v. Camenisch, 451 U.S. 390, 395 (1981). But in this case, the district court
issued a preliminary injunction that is in “substance, if not in terms, a mandatory one,
which ‘like a mandamus,’ is an extraordinary remedial process.” Heckler v. Lopez,
463 U.S. 1328, 1333-34 (1983) (Rehnquist, J., granting a stay pending appeal).
Issued against the City and “its agents, servants, employees, and representatives,” the
decree subjects every St. Louis police officer exercising his or her community
caretaking responsibility to maintain public order and protect persons and property
to the risk of being held in contempt of court for (i) enforcing facially valid
ordinances prohibiting unlawful assemblies and refusals to obey dispersal orders with
“the purpose of punishing persons for exercising their constitutional rights to engage
in expressive activity,” unless they are “acting in concert to pose an imminent threat
to use force or violence”; (ii) using “chemical agents . . . against any person engaged
in expressive, non-violent activity . . . in the absence of probable cause to arrest . . .
and without first issuing clear and unambiguous warnings that the person is subject

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to arrest . . . and providing the person sufficient opportunity to heed the warnings”;2
or (iii) issuing dispersal orders without “specifying with reasonable particularity the
area from which dispersal is ordered . . . and providing sufficient warnings of the
consequences of failing to disperse” and a reasonable “announced amount of time . . .
to heed the warnings and exit the area.”

       Given the events in the fall of 2017, we do not question the district court’s
decision to issue a preliminary injunction that included affirmative mandates pending
a prompt trial on the merits of plaintiffs’ claims for a permanent injunction. But
there has been no prompt trial. Instead, the case was referred to a mediator for six
months, and the six month delay became over three years when mediation failed,
plaintiffs renewed their motion for class certification, and the court entered an
appealable class certification order. In this institutional reform lawsuit, this change
in circumstances warranted the district court’s serious consideration of either
modifying or dissolving the preliminary injunction or accelerating trial on the merits
of plaintiffs’ permanent injunction claims. “It is one thing for a court to preserve its
power to grant effectual relief by preventing parties from making unilateral and
irremediable changes during the course of litigation, and quite another for a court to
force the parties to make significant alterations in their practices before there has been
time for a trial on the merits.” Chicago United Ind., Ltd. v. City of Chicago, 445 F.3d
940, 945 (7th Cir. 2006), quoting O Centro Espiria Beneficient Uniao Do Vegetal v.
Ashcroft, 389 F.3d 973, 1015 (10th Cir. 2004) (McConnell, J., concurring). “[T]he



      2
       The mandate that chemical agents may only be used when there is probable
cause to arrest goes beyond what this court has held in § 1983 excessive force cases.
See Frederick v. Motsinger, 873 F.3d 641, 646-47 (8th Cir. 2017). These First and
Fourth Amendment issues are more complex and fact intensive. See Quraishi v. St.
Charles Cty., Mo., 986 F.3d 831 (8th Cir. 2021). To the extent this provision was
based upon a prior settlement agreement, that would not be sufficient to support a
§ 1983 permanent injunction. See Lewis v. Casey, 518 U.S. 343, 363 (1996).

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longer an injunction or consent decree stays in place, the greater the risk that it will
improperly interfere with a State’s democratic processes.” Horne, 557 U.S. at 453.

       Plaintiffs seek permanent injunctive relief against the City based on its alleged
custom and practice and its failure to train and supervise police officers. Regarding
the custom and practice claim, plaintiffs do not allege that the municipal ordinances
being enforced during the September 2017 protests are constitutionally invalid. But
a “showing at trial of a relatively few instances of violations by individual police
officers, without any showing of a deliberate policy on behalf of [the City, would] not
provide a basis for equitable relief.” Lyons, 461 U.S. at 104. Rather, “where the
claim is that municipal action lawful on its face caused an employee to inflict
constitutional injury, ‘rigorous standards of culpability and causation must be applied
to ensure that the municipality is not held liable solely for the actions of its
employees.’” S.M. v. Lincoln Cty., 874 F.3d 581, 585 (8th Cir. 2017), quoting Bd.
of Cty. Comm’rs v. Brown, 520 U.S. 397, 405 (1997). To prevail on this claim,
plaintiffs “must show that [their] alleged injury was caused by municipal employees
engaging in a widespread and persistent pattern of unconstitutional misconduct, that
municipal policymakers were either deliberately indifferent to or tacitly authorized.”
Davis v. White, 794 F.3d 1008, 1014 (8th Cir. 2015); see Szabla v. City of Brooklyn
Park, Mn. 486 F.3d 385, 389-90 (8th Cir. 2007) (en banc); Thomas v. Cty. of Los
Angeles, 978 F.2d 504, 509 (9th Cir. 1992) (“plaintiffs’ eventual burden in obtaining
a permanent injunction against a state law enforcement agency is to establish more
than repeated incidents of misconduct”).

       Plaintiffs’ burden in proving their municipal failure to train and supervise claim
is no less rigorous. “‘Section 1983 liability cannot attach to a supervisor merely
because a subordinate violated someone’s constitutional rights.’ . . . [T]o maintain an
action for training or supervisory liability, a plaintiff must show the failure to train
or supervise caused the injury.’” Johnson v. City of Ferguson, Mo., 926 F.3d 504,
506 (8th Cir. 2019) (en banc); see City of Canton v. Harris, 489 U.S. 378, 389-92

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(1989). Given these rigorous § 1983 burdens of proof, the evidence at the
preliminary injunction hearing relating to the events of September 2017, while
relevant and sufficient to persuade the court to grant a preliminary injunction
pendente lite, will not be sufficient to warrant permanent injunctive relief imposing
the same levels of indefinite federal court control over the City’s law enforcement
responsibilities. As Judge Posner recently reminded Seventh Circuit district judges,
“[t]he era of micromanagement of government functions by the federal courts is
over.” Chicago United Ind., 445 F.3d at 947.3

       In reviewing preliminary injunctions, we have long recognized “that justice
would be served by proceeding to trial with all due haste in order to secure a ruling
on the merits of the claim raised.” Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d
109, 112 (8th Cir. 1981) (en banc). That was true when the preliminary injunction
issued in November 2017 and is even more true today. The City has not shown
changed circumstances warranting immediate dissolution. However, when discovery
is complete or largely complete, as in this case, we agree with the Second Circuit
“that the important questions raised . . . should not be left unanswered . . . any longer
than necessary,” and we therefore condition maintenance of the preliminary
injunction upon the completion of a trial on the merits of plaintiffs’s request for a
permanent injunction within six months. Able v. United States, 44 F.3d 128, 132-33
(2d Cir. 1995); see Daniels Health Sciences, LLC v. Vascular Health Sciences, LLC,
710 F.3d 579 (5th Cir. 2013); Abbott Labs. v. Mead Johnson & Co., 971 F.2d 6 (7th
Cir. 1992). Accordingly, we affirm denial of the City’s motion to dissolve the
temporary injunction and remand with directions to vacate and dissolve the injunction



       3
        “It is the role of courts to provide relief to claimants, in individual or class
actions, who have suffered, or will imminently suffer, actual harm; it is not the role
of courts, but that of the political branches, to shape the institutions of government
in such fashion as to comply with the laws and the Constitution.” Lewis, 518 U.S.
at 349.

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no later than October 31, 2021, if it has not been replaced with a final order either
granting a permanent injunction or denying injunctive relief.4

                               II. Class Certification

      The City appeals the district court’s order granting certification of a class under
Rule 23(b)(2). The court defined the class as:


       persons who will in the future participate in or observe non-violent
       public demonstrations and/or who record such public demonstrations
       and/or police activities at the public demonstrations for the exercise of
       constitutional rights of free speech and assembly in the City of St. Louis.

“To be certified as a class, plaintiffs must meet all of the requirements of Rule 23(a)
and must satisfy one of the three subsections of Rule 23(b).” In re St. Jude Medical,
Inc., 425 F.3d 1116, 1118 (8th Cir. 2005). Rule 23(a) requires showing that the class
meets requirements of “numerosity, commonality, typicality, and fair and adequate
representation.” Postawko v. Missouri Dept. of Corrections, 910 F.3d 1030, 1037
(8th Cir. 2018). Rule 23(b)(2) provides that a class action may be maintained if -

       the party opposing the class has acted or refused to act on grounds that apply
       generally to the class, so that final injunctive relief or corresponding
       declaratory relief is appropriate respecting the class as a whole.



       4
        In denying the City’s motion to dissolve the preliminary injunction in May
2019, the district court noted that the case was set on the court’s trial docket “in
August” and that the court “can best determine whether continued injunctive relief
is warranted after all the evidence has been heard and the case submitted for
decision.” At oral argument, counsel for plaintiffs stated that they “want more
discovery” before trial. On remand, if plaintiffs seek or request additional discovery,
the district court is directed to dissolve the preliminary injunction forthwith.

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The district court after lengthy discussion concluded that plaintiffs satisfy the four
Rule 23(a) requirements. The court then concluded with little analysis that it is
“patently obvious” that the City “‘acted or refused to act on grounds generally
applicable to the class’ based on the protestors’ allegations that the police had
unconstitutionally declared an unlawful assembly and dispersed the protestors,”
quoting Multi-Ehnic Immigrant Workers Org. Network v. City of Los Andeales, 246
F.R.D. 621 (C.D. Cal. 2007). We will address only the Rule 23(b)(2) issue.

       Rule 23(b)(2) class certification may be proper when the primary relief sought,
as in this case, is declaratory or injunctive. See Avritt v. Reliastar Life Ins. Co., 615
F.3d 1023, 1035 (8th Cir. 2010). “Civil rights cases against parties charged with
unlawful, class-based discrimination are prime examples.” Amchem Prods., Inc. v.
Windsor, 521 U.S. 591, 614 (1997). However, because unnamed class members are
bound without an opportunity to opt out, a Rule 23(b)(2) class requires even greater
cohesiveness than a Rule 23(b)(3) class seeking damages:

       Injuries remedied through (b)(2) actions are really group, as opposed to
       individual injuries. The members of a (b)(2) class are generally bound
       together through preexisting or continuing legal relationships or by
       some significant common trait such as race or gender.

St. Jude, 425 F.3d at 1122 (cleaned up). Thus, when named plaintiffs attempt “to
aggregate a plethora of discrete claims . . . into one super-claim’” against a
government agency, without demonstrating “that the class members have been
harmed in essentially the same way,” the proposed Rule 23(b)(2) class is deficient.
M.D. ex. rel. Stukenberg v. Perry, 675 F.3d 832, 848 (5th Cir. 2012) (cleaned up).
“Rule 23(b)(2) applies only when a single injunction or declaratory judgment would
provide relief to each member of the class. It does not authorize class certification
when each individual class member would be entitled to a different injunction or
declaratory judgment.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011).


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       The named plaintiffs in this case are not “bound together through preexisting
or continuing legal relationships or by some significant common trait.” Ahmad
intentionally violated state and local ordinances at the time she was maced. Mobley
was allegedly recording a protest against police when police detained him and seized
his phone. Lewczuk was an “observer” of, not a participant in, the protests when she
was arrested. Nor did the named plaintiffs and putative class members allegedly
experience the same harms. They allege, among other claims, use of chemical agents
in violation of the Fourth Amendment, interference with the right to film police
activity in violation of the First Amendment, and being arrested for unlawful
assembly or failure to disperse without adequate warning and an opportunity to
comply. Each of these fact-intensive claims requires different proof to establish the
alleged constitutional violation.

       Plaintiffs in their motion for class certification and on appeal made no attempt
to define precisely what permanent injunctive relief they are seeking on behalf of
various members of the putative class. It is apparent they seek broad injunctive relief
that does not “relate only to a single policy regarding one particular [injury],” as in
Postawko, 910 F.3d at 1040, on which they rely. When liability does not apply
uniformly to the entire class, the relief sought becomes highly individualized, and
“the cohesiveness necessary to proceed as a class under [Rule 23](b)(2) is lacking.”
Ebert v. General Mills, Inc., 823 F.3d 477, 480 (8th Cir. 2016), citing Dukes in
reversing a Rule 23(b)(2) certification order. We conclude class certification was
granted prematurely. Given the individualized inquiries plaintiffs’ disparate claims
require, “the massive class action certified neither promotes the efficiency and
economy underlying class actions nor pays sufficient heed to the federalism and
separation of powers principles emphasized in Rizzo v. Goode, Lewis v. Casey, and
other cases.” Elizabeth M. v. Montenez, 458 F.3d 779, 788 (8th Cir. 2006).5


       5
       In Rizzo v. Goode, 423 U.S. 362, 378 (1976), a suit against the Mayor and
Police Commissioner of Philadelphia, the Court observed: “Where, as here, the

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       Plaintiffs seek permanent injunctive relief directing the City of St. Louis how
to handle future protests. There will be no monetary remedies in this action.
Individual damage actions by putative class members against particular police
officers are already pending. Plaintiffs make no showing a class-wide injunction will
be needed to ensure compliance by the City with any permanent injunction granted
the named plaintiffs. “When the defendant is not a private citizen but a government
actor, there is a rebuttable presumption that the objectionable behavior will not
recur.” Chicago United Inds., 445 F.3d at 947.

       Moreover, the premature grant of class certification has seriously delayed the
prompt trial on the merits of plaintiffs’ claims for permanent injunctive relief that the
mandatory nature of the preliminary injunction requires. Accordingly, we vacate the
class certification order without prejudice to plaintiffs renewing their request after a
final order has been entered on their claim for permanent injunctive relief, at which
point the district court can better assess whether a Rule 23(b)(2) class is appropriate
and necessary to afford proper equitable relief. “The remedy must of course be
limited to the inadequacy that produced the injury in fact that the plaintiff has
established. . . .This is no less true with respect to class actions than with respect to
other suits.” Lewis, 518 U.S. at 357.

                                   III. Conclusion

       For the forgoing reasons, the orders of the district court are modified and the
case is remanded for further proceedings not inconsistent with this opinion.




exercise of authority by state officials is attacked, federal courts must be constantly
mindful of the special delicacy of the adjustment to be preserved between federal
equitable power and State administration of its own law.”

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ERICKSON, Circuit Judge, concurring in part and dissenting in part.

        I concur with the majority’s analysis and conclusion in Part II that the class
certification order should be vacated without prejudice. I write separately with regard
to the first part of the majority’s opinion because I believe the City’s failure to appeal
the preliminary injunction, which was an appealable interlocutory order under 28
U.S.C. § 1292(a)(1), divests the City of the opportunity to contest the merits.

      Courts generally have jurisdiction to review interlocutory orders “granting,
continuing, modifying, refusing or dissolving injunctions, or refusing to dissolve or
modify injunctions.” 28 U.S.C. § 1292(a)(1). However, if an injunction is granted
and not appealed, we lack jurisdiction to review an order that denies a request for
reconsideration of that injunction. Gooch v. Life Ins. Co. of Am., 672 F.3d 402,
414–15 (6th Cir. 2012); Weight Watchers Int’l, Inc. v. Luigino’s Inc., 423 F.3d
137, 141 (2d Cir. 2005); see also Mikel v. Gourley, 951 F.2d 166, 168–69 (8th Cir.
1991) (noting the court would lack jurisdiction over an order clarifying rather than
modifying an existing injunction).

       In its motion, the City did not identify any “subsequent changes in the facts or
the law” to support a modification or dissolution of the injunction.6 Omaha Indem.
Co. v. Wining, 949 F.2d 235, 239 (8th Cir. 1991) (citations omitted). Even though
the City captioned its motion as a request to “dissolve” the injunction, the essence of
its motion was a request to reconsider the injunction. That the City relied on evidence
existing before the district court entered the preliminary injunction is fatal and should
have ended the inquiry because we lack jurisdiction to review a request for
reconsideration. See Gooch, 672 F.3d at 415–16; see also AngioDynamics, Inc. v.


       6
        Even if Fed. R. Civ. P. 60(b) is an appropriate vehicle for review, in my
opinion, the outcome would be the same since the City failed to demonstrate a change
in fact or law.

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Biolitec AG, 880 F.3d 596, 599 (1st Cir. 2018) (per curiam); Credit Suisse First
Boston Corp. v. Grunwald, 400 F.3d 1119, 1124 (9th Cir. 2005).

       I do not believe that the “passage of time” alone constitutes sufficient “changed
circumstances” to dissolve a preliminary injunction. This is all the more true where,
as here, the substantial delay that the majority found converted the preliminary
injunction into a permanent injunction is largely attributable to unique circumstances
that are unlikely to be replicated in the future. They include failed attempts to
mediate, the hiring of new counsel, the COVID-19 pandemic, and the general
difficulty in holding court due to civil unrest during the summer of 2020. While a
prompt trial is essential to our justice system, I am not convinced that under these
unique circumstances it is appropriate to treat the preliminary injunction as though
it was a permanent injunction.

        As the district court noted, the City’s motion “amount[ed] to nothing more than
an attempt to reargue the preliminary injunction motion with new counsel and more
strident rhetoric.” While I share the majority’s concerns about the breadth of the
preliminary injunction, those concerns do not obviate the requirement that a party
seeking to dissolve a preliminary injunction must first demonstrate a change in
circumstances. Cf. Jackson v. Los Lunas Cmty. Program, 880 F.3d 1176, 1200 (10th
Cir. 2018) (requiring a change in circumstances even in institutional reform
litigation). If the passage of time alone is sufficient to dissolve a preliminary
injunction, an injunction will be “indefinitely open to challenge” long after the
deadline to appeal the merits has passed. Favia v. Ind. Univ. of Pa., 7 F.3d 332, 337
(3d Cir. 1993).

       Because the City failed to identify a sufficient change in the facts or the law,
I believe the appeal from the order declining to dissolve the preliminary injunction
should have been dismissed for lack of jurisdiction.
                        ______________________________

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                                   APPENDIX

       IT IS HEREBY ORDERED that plaintiffs’ motion for preliminary injunction
[10] is granted and defendant City of St. Louis and its agents, servants, employees,
and representatives will not enforce any rule, policy, or practice that grants law
enforcement officials the authority or discretion to:

       1) Declare an unlawful assembly under St. Louis Code of Ords. §15.52.010
when the persons against whom it would be enforced are engaged in expressive
activity, unless the persons are acting in concert to pose an imminent threat to use
force or violence or to violate a criminal law with force or violence;

      2) Declare an unlawful assembly under St. Louis Code of Ords. §15.52.010 or
enforce St. Louis Code of Ords. §17.16.275(A) and (E) for the purpose of punishing
persons for exercising their constitutional rights to engage in expressive activity;

       3) Use chemical agents, including, but not limited to, mace/oleoresin capsicum
spray or mist/pepper spray/pepper gas, tear gas, skunk, inert smoke, pepper pellets,
xylyl bromide, and similar substances (collectively “chemical agents”), whatever the
method of deployment, against any person engaged in expressive, non-violent activity
in the City of St. Louis, in the absence of probable cause to arrest the person and
without first issuing clear and unambiguous warnings that the person is subject to
arrest and such chemical agents will be used and providing the person sufficient
opportunity to heed the warnings and comply with lawful law enforcement commands
or as authorized in paragraph 5 below;

      4) Use or threaten to use chemical agents, whatever the method of deployment,
against any person engaged in expressive, non-violent activity in the City of St.
Louis, for the purpose of punishing the person for exercising constitutional rights;
and

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       5) Issue orders or use chemical agents, whatever the method of deployment,
for the purpose of dispersing person(s) engaged in expressive, non-violent activity in
the City of St. Louis without first: specifying with reasonable particularity the area
from which dispersal is ordered; issuing audible and unambiguous orders in a manner
designed to notify all persons within the area that dispersal is required and providing
sufficient warnings of the consequences of failing to disperse, including, where
applicable, that chemical agents will be used; providing a sufficient and announced
amount of time which is proximately related to the issuance of the dispersal order in
which to heed the warnings and exit the area; and announcing and ensuring a means
of safe egress from the area that is actually available to all person(s);

      Provided, however, that paragraph (3) and (5) above do not apply to situations
where persons at the scene present an imminent threat of violence or bodily harm to
persons or damage to property, or where law enforcement officials must defend
themselves or other persons or property against imminent threat of violence.

       IT IS FURTHER ORDERED that this preliminary injunction becomes
effective upon plaintiffs’ posting security in the amount of $100 with the Clerk of
Court, and remains in effect until further order of this Court.

       A separate Preliminary Injunction in accord with this Memorandum and Order
is entered this date, as is a separate order referring this case to mediation.




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